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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0364V
                                     Filed: March 10, 2017
                                         UNPUBLISHED

****************************
MARTHA WORLEIN,                        *
                                       *
                   Petitioner,         *       Joint Stipulation on Damages;
v.                                     *       Influenza (“Flu”) Vaccine;
                                       *       Rotator Cuff Tear;
SECRETARY OF HEALTH                    *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Larry Gene Michel, Kennedy, Berkley, et al., Salina, KS, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On March 21, 2016, Martha Worlein (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she developed a left
rotator cuff tear as a result of her October 6, 2014 influenza (“flu”) vaccination. Petition
at 1-3; Stipulation, filed March 3, 2017, at ¶¶ 2, 4. Petitioner further alleges that she
experienced the residual effects of her injury for more than six months, and has
received no previous award or settlement of a civil action on her behalf in regard to her
injury. Stipulation at ¶¶ 4-5. “Respondent denies that the influenza vaccine caused
petitioner to suffer from a rotator cuff tear or any other injury, or her current condition.”
Stipulation at ¶ 6.

       Nevertheless, on March 9, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $125,000.00, in the form of a check payable to
        petitioner. Stipulation at ¶ 8. This amount represents compensation for
        all items of damages that would be available under 42 U.S.C. § 300aa-
        15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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